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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

S. STANLEY YOUNG, et al.,

              Plaintiffs,

       v.
                                                   No. 1:21-CV-2623-TJK
UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY, et al.,

              Defendants.

  PLAINTIFFS’ MOTION FOR ENTRY OF PARTIAL FINAL JUDGMENT
                  AND STAY OF PROCEEDINGS

      Pursuant to Federal Rule of Civil Procedure 54(b), Plaintiffs respectfully

request that the Court enter partial final judgment on Counts V–VIII of the amended

complaint, which would permit Plaintiffs to appeal the Court’s judgment for

Defendants as to those claims, and stay proceedings related to Counts I–IV pending

resolution of the appeal. A proposed order is attached. Plaintiffs’ counsel conferred

with Defendants’ counsel regarding this motion on October 21, 2021. Defendants

take no position on the motion at this time. Defendants intend to review the motion

and file a response stating their position.

                                    ARGUMENT

      Rule 54(b) provides that “[w]hen an action presents more than one claim for

relief—whether as a claim, counterclaim, crossclaim, or third-party claim—or when

multiple parties are involved, the court may direct entry of a final judgment as to one
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or more, but fewer than all, claims or parties only if the court expressly determines

that there is no just reason for delay.”

       Rule 54(b) “affords considerable discretion to the district courts in making the

certification decision,” Bldg. Indus. Ass’n of Superior Cal. v. Babbitt, 161 F.3d 740,

743 (D.C. Cir. 1998), and “provide[s] a practical means of permitting an appeal to be

taken from one or more final decisions on individual claims, in multiple claims

actions, without waiting for final decisions to be rendered on all the claims in the

case,” Attias v. CareFirst, Inc., 969 F.3d 412, 416 (D.C. Cir. 2020) (quoting Sears,

Roebuck & Co. v. Mackey, 351 U.S. 427, 435 (1956)).

       Rule 54(b) establishes three requirements for an otherwise interlocutory order

to be certified as a partial final judgment: (1) the order must resolve a “distinct claim

for relief,” (2) the order must be “final” with respect to that claim, and (3) the district

court must expressly and properly determine that there is “no just reason for delay.”

Id. (cleaned up). Each requirement is satisfied here.

       1.     The Court’s Order, ECF No. 37, resolved “distinct claim[s] for relief” by

entering summary judgment for Defendants on Counts V–VIII of the amended

complaint, Attias, 969 F.3d at 416. These claims are distinct because they could have

been brought separately from Counts I–IV without violating the rule against splitting

claims, see id. at 417; Tolson v. United States, 732 F.2d 998, 1001 (D.C. Cir. 1984),

which “‘requires that all claims arising out of a single wrong be presented in one

action,’” Coulibaly v. Pompeo, 318 F. Supp. 3d 176, 182 (D.D.C. 2018); see Attias, 969

F.3d at 418 (asking whether the “claims arise from the same transaction and


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occurrence”). Counts V–VIII do not arise from the same “wrong,” “transaction,” or

“occurrence” as the one at issue in Counts I–IV. The former claims challenge the

Administrator’s decision to reconstitute the Clean Air Scientific Advisory Committee

(CASAC), see ECF No. 17, ¶¶ 105–33, while the latter claims challenge the

Administrator’s decision to reconstitute the Science Advisory Board (SAB), see id.

¶¶ 76–104. Because these reconstitutions were different agency actions that involved

different committees, relied on different administrative records, and inflicted

different injuries, see ECF No. 21-2 at I–II, they were distinct wrongs that give rise

to distinct claims, see Coulibaly, 318 F. Supp. 3d at 182; see, e.g., Matson Navigation

Co., Inc. v. U.S. Dep’t of Transp., 480 F. Supp. 3d 282, 286–87 (D.D.C. 2020) (holding

that a count challenging two related but ultimately “separate” agency actions gave

rise to two distinct claims).

      2.     The Court’s Order was “final” with respect to Counts V–VIII. Attias,

969 F.3d at 416. “A judgment is ‘final’ for purposes of Rule 54(b) if it is ‘an ultimate

disposition of an individual claim entered in the course of a multiple claims action.’”

Am. Forest Res. Council v. Ashe, 301 F.R.D. 14, 18 (D.D.C. 2014) (quoting Sears, 351

U.S. at 436). By granting summary judgment to Defendants on Counts V–VIII, the

Court ultimately disposed of those claims. “Nothing remains to be decided on [Counts

V–VIII],” and “unless and until [they] are appealed, no further court action will take

place [concerning them].”       Id. (quotation marks omitted).      Thus, the Court’s

disposition of Counts V–VIII was final.




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      3.     Based on the “judicial administrative interests [and] equities involved,”

there is “no just reason [to] delay” the entry of partial final judgment. Attias, 969

F.3d at 416 (cleaned up). An appeal of the Court’s decision as to the CASAC claims

is the most efficient path forward for both the judiciary and the parties because it will

govern this Court’s resolution of the readily “separable” SAB claims, Bldg. Indus.

Ass’n, 161 F.3d at 744, and will not lead to “multiple appeals on the same issues,”

Attias, 969 F.3d at 417; see Matson Navigation Co., 480 F. Supp. 3d at 287.

      For instance, the Court’s interpretation of the “fairly balanced” requirement of

the Federal Advisory Committee Act is law of the case that must be applied in

resolving Plaintiffs’ claims as to the SAB. It would not be efficient for either the Court

or the parties to expend time and resources litigating the SAB claims now, because

an appeal to the D.C. Circuit could materially impact the Court’s resolution of the

SAB claims. If, for example, the D.C. Circuit reverses this Court’s interpretation of

the “fairly balanced” requirement as to the CASAC claims, the Court would need to

apply that precedent in resolving the SAB claims. Likewise, if the D.C. Circuit

affirms, litigating the SAB claims may prove unnecessary. Either way, because the

D.C. Circuit’s resolution of the exclusively legal issues in this APA case would govern

any subsequent proceedings, “no appellate court would have to decide the same issues

more than once.” Bldg. Indus. Ass’n, 161 F.3d at 744.

      Moreover, without an immediate appeal as to the CASAC claims, Plaintiffs will

be prejudiced because they will continue to be barred from participating in the

CASAC’s recommendations on impending rulemakings, particularly the final rule


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revising the particulate-matter NAAQS that EPA plans to issue in 2023. See ECF

No. 38 at 3. Plaintiffs do not have a comparably urgent need for resolution of the

SAB claims.

      On the other side of the ledger, the government will not be prejudiced by an

immediate appeal.     To the contrary, due to the impending rulemaking on the

particulate-matter NAAQS, the government’s interests in fact will be advanced by

immediate appellate resolution of Plaintiffs’ CASAC claims. If the D.C. Circuit

reverses this Court’s decision on those claims, the immediate appeal will have

minimized the potential “waste” of the “work that [CASAC and EPA] ha[ve] done” on

the particulate-matter rulemaking. Am. Forest Res. Council, 301 F.R.D. at 19; see

ECF No. 32 at 9 (noting that the CASAC “may need to start over” in developing

recommendations for EPA if the reconstitution is held unlawful). And if this Court’s

ruling becomes final on appeal, the immediate appeal will have enabled EPA to

“proceed with the [particulate-matter] rulemaking without the cloud of a possible

reversal.” Am. Forest Res. Council, 301 F.R.D. at 19. As a result, “all parties benefit

from a prompt appellate resolution of the [CASAC] claims.” Id.

                                   CONCLUSION

      For these reasons, the Court should expressly determine that there is no just

reason for delay, see Attias, 969 F.3d at 417, enter partial final judgment for

Defendants as to Counts V–VIII of the amended complaint, and stay proceedings in

this Court related to Counts I–IV pending resolution of the appeal.




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Dated: October 21, 2022              Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 21, 2022, a true and correct copy of the

foregoing Motion for Entry of Partial Final Judgment and Stay of Proceedings was

filed using the Court’s CM/ECF system, which will serve all counsel of record.



                                                    /s/ Brett A. Shumate
                                                    Brett A. Shumate

                                                    Counsel for Plaintiffs




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